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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        )       No. CR-S-11-190 MCE
                                                      )
11                                                    )
               Plaintiff,                             )       STIPULATION REGARDING
12                                                    )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
13                                                    )       ORDER
     NICHOLAS RAMIREZ, et al.,                        )
14                                                    )       Date: November 6, 2014
                                                      )       Time: 9:00 a.m.
15             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16                                                    )
                                                      )
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19             The United States of America through its undersigned counsel, Jason Hitt, Assistant
20   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,
21
     Esq. hereby stipulate to the following:
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          1. By previous order, this matter was set for status conference on November 6, 2014.
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          2. By this stipulation, Manuel Keith now moves to continue the status conference until
24
     January 15, 2015 and to exclude time between November 6, 2014 and January 15, 2015 under
25
     the Local Code T-2 and T-4.
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          3.   The parties agree and stipulate and request the Court find the following:
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 1   a. This case was the product of a lengthy investigation in which wiretaps were utilized
 2      on multiple telephones. The government has produced discovery which to date
 3      includes 1,952 pages containing wiretap applications, periodic reports, and
 4
        investigative materials. Additionally, the government has provided defense counsel
 5
        with voluminous wiretap conversations. The government submitted a plea agreement
 6
        to counsel for Mr. Keith, in which a “phone count” was offered. Mr. Keith is a
 7
        musician who travels internationally. A phone count will be treated as a drug offense
 8
        and will prohibit Mr. Keith from entering a number of countries in which he has
 9
        performed and where he hopes to perform in the future. Therefore, counsel for Mr.
10
        Keith is now attempting to persuade the U.S. Attorney’s office to offer a plea to
11
        misprision of felony, which would not be considered to be a drug offense. Such a
12
        plea would not result in any less custodial time than a plea to a phone count. The
13
        government is now considering the counter offer. Further, Mr. Keith lives in
14

15
        Queens, New York. A continuance now will provide time for counsel for the

16      government to consider the counter offer and time for Mr. Keith to gather the funds to

17      pay for a round trip airline ticket to Sacramento in order to attend court to enter a

18      plea.

19   b. The Government does not object to the continuance.
20   c. Based on the above-stated findings, the ends of justice served by granting the
21      requested continuance outweigh the best interests of the public and the defendant in a
22      speedy trial within the original date prescribed by the Speedy Trial Act.
23
     d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
24
        Section 3161(h)(7)(A) within which trial must commence, the time period of
25
        November 6, 2014 through January 15, 2015 inclusive, is deemed excludable
26
        pursuant to 18 United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv),
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        corresponding to Local Code T-2 and T-4 because it results from a continuance
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        granted by the Court at defendant’s request on the basis of the Court’s finding that the

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 1             ends of justice served by taking such action outweigh the best interest of the public
 2             and the defendant in a speedy trial.
 3     4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
          Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
          which a trial must commence.
 6
     IT IS SO STIPULATED.
 7

 8   DATED:        November 6, 2014                        BENJAMIN WAGNER
                                                           United States Attorney
 9
                                                           /s/ Jason Hitt
10
                                                  by
11                                                         Jason Hitt
                                                           Assistant U.S. Attorney
12
                                                           by Jan David Karowsky
13
                                                           w/ Mr. Hitt’s consent

14   DATED:        November 6, 2014                        JAN DAVID KAROWSKY
                                                           Attorney at Law
15                                                         A Professional Corporation

16                                                         /s/ Jan Karowsky
                                                  by
17                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
18                                                         Manuel Keith
19
                                                 ORDER
20
            IT IS SO ORDERED.
21
     Dated: November 6, 2014
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